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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER;
BRIANNA BOE, individually and on behalf
of her minor son, MICHAEL BOE; JAMES
ZOE, individually and on behalf of his minor
son, ZACHARY ZOE; MEGAN POE,
individually and on behalf of her minor            Civil Action No.
daughter, ALLISON POE; KATHY NOE,                  2:22-cv-184-LCB
individually and on behalf of her minor son,
CHRISTOPHER NOE; JANE MOE, Ph.D.;                       [PROPOSED]
and RACHEL KOE, M.D.,                                   PRELIMINARY
                                                        INJUNCTION
       Plaintiffs,

v.

KAY IVEY, in her official capacity as
Governor of the State of Alabama; STEVE
MARSHALL, in his official capacity as
Attorney General of the State of Alabama;
DARYL D. BAILEY, in his official capacity
as District Attorney for Montgomery County;
C. WILSON BAYLOCK, in his official
capacity as District Attorney for Cullman
County; JESSICA VENTIERE, in her official
capacity as District Attorney for Lee County;
TOM ANDERSON, in his official capacity as
District Attorney for the 12th Judicial Circuit;
and DANNY CARR, in his official capacity
as District Attorney for Jefferson County,

      Defendants.
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                 [PROPOSED] PRELIMINARY INJUNCTION
      This matter having come before the Court upon the Motion for Preliminary

Injunction filed by Reverend Paul A. Eknes-Tucker; Brianna Boe, individually and

on behalf of her minor son, Michael Boe; James Zoe, individually and on behalf of

his minor son, Zachary Zoe; Megan Poe, individually and on behalf of her minor

daughter, Allison Poe; Kathy Noe, individually and on behalf of her minor son,

Christopher Noe; Jane Moe, Ph.D.; and Rachel Koe, M.D. (collectively “Plaintiffs”);

for good cause shown, it is hereby ORDERED that Plaintiffs’ Motion for

Preliminary Injunction is GRANTED.

      On April 7, 2022, the Alabama Legislature passed S.B. 184, known as the

Vulnerable Child Compassion and Protection Act (“the Act”). On April 8, 2022,

Governor Ivey signed the Act into law. It is scheduled to take effect on May 8, 2022.

      The Act makes it a Class C felony for any “person” to “engage in or cause”

the performance of certain medical treatments on any minor, “if the practice is

performed for the purpose of attempting to alter the appearance of or affirm the

minor’s perception of his or her gender or sex, if that appearance or perception is

inconsistent with the minor’s sex as defined by [the] act.” Plaintiffs seek to enjoin

enforcement of the Act until this Court issues a final judgment on the merits of their

claims for relief.




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       The Court, having considered the pleadings, legal authority, and argument

presented in support of Plaintiffs’ Motion, as well as the sworn declarations

submitted in support of that Motion, has found and concluded for the specific reasons

required under Federal Rule of Civil Procedure 65(d) that Plaintiffs have

demonstrated: (1) a likelihood of success on the merits, that they will suffer

irreparable harm if a preliminary injunction is not granted, (3) that the balance of

equities tip in Plaintiffs’ favor, and (4) that a preliminary injunction is in the public

interest.

       Plaintiffs have established a likelihood of success on the merits of their claim

that the Act violates the Due Process Clause of the Fourteenth Amendment by

interfering with the Parent Plaintiffs’ exercise of their fundamental rights to seek and

determine medical care for their children. Plaintiffs have also established a

likelihood of success on the merits of their claim that the Act violates Plaintiffs’ right

to equal protection under the Fourteenth Amendment to the U.S. Constitution by

criminalizing the provision of medically necessary care to transgender youth.

Plaintiffs have also established a likelihood of success that the Act violates the First

Amendment by criminalizing, based on its content and viewpoint, speech that would

“cause” a transgender minor to obtain medical treatment for gender dysphoria.

Additionally, Plaintiffs have shown that they are likely to succeed on the merits of

their claim that the Act violates the Due Process Clause of the Fourteenth


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Amendment by failing to provide sufficient notice of the specific conduct that is

subject to criminal penalties under the law. Plaintiffs have further demonstrated that

they are likely to succeed on the merits of their claim that the Act is preempted by

Section 1557 of the Affordable Care Act (“ACA”), 42 USC § 18116.

      Plaintiffs have demonstrated that, absent injunctive relief preventing the Act

from taking effect, they will be denied medical care and suffer irreparable

constitutional, physical, emotional, psychological, and other harms for which there

is no adequate remedy at law. The balance of hardships between the injuries

Plaintiffs will suffer and Defendants’ interests weigh in favor of granting Plaintiffs’

motion to preserve the status quo, and an injunction is in the public interest.

      The Court finds that Plaintiffs are not required to provide security pursuant to

Fed. R. Civ. P. 65(c).

      IT IS THEREFORE ORDERED that Defendants, as well as their agents,

employees, servants, attorneys, successors and any person in active concert or

participation with them, are HEREBY ENJOINED, pending final judgment, from

enforcing, threatening to enforce, or otherwise requiring compliance with Alabama’s

Vulnerable Child Compassion and Protection Act.

      IT IS FURTHER ORDERED that the security requirement of Fed. R. Civ. P.

65(c) is waived and that this injunctive relief is effective upon service.

      Done this ___ day of ___________, 2022.


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